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Marion Superior Court 6 Marion County, Indian.
STATE OF INDIANA MARION COUNTY SUPERIOR COURT
SS:
COUNTY OF MARION CAUSE NO.

Gayl Ann Flynn, individually and as
Special Representative of the Estate of
Edward Louis Flynn,

Plaintiffs,

Plaintiffs’ Complaint for
Damages and Jury Trial
Demand

Vv.

Consolidated City of Indianapolis
and Marion County, Daniel Butler,
Omari Stringer, Dustin Pervine,
and Cody St. John,

 

Defendants.

 

Comes now Plaintiff, Gayl Ann Flynn, imdividualiy and as Special
Representative of the Estate of Edward Louis Flynn, and for her Complaint for
Damages against the Consolidated City of Indianapolis and Marion County (“City”),
Daniel Butler (“Ofc. Butler”), Omari Stringer “Ofc. Stringer”), Dustin Pervine (“Ofc.
Pervine”), and Cody St. John (Ofc. St. John”) (collectively “Defendants”) states as

follows:

Introduction

1. On December 15, 2020, Edward Louis Flynn tragically lost his life after
his vehicle was struck by a vehicle being pursued by officers of the Indianapolis
Metropolitan Police Department in a high-speed chase while he was stopped at an
intersection in Indianapolis, Indiana just waiting to proceed through the intersection.

2. This is an action for violation and deprivation of civil rights brought by

Plaintiff Gayl Ann Flynn, individually and as Special Representative of the Estate of
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Edward Louis Flynn (“Gayl”), against the City, Ofc. Butler, Ofc. Stringer, Ofc.
Pervine, and Ofc. St. John, under 42 U.S.C. § 1983 seeking all damages recoverable,

and for claims under the laws of the State of Indiana seeking all damages recoverable.

Parties

A. Gayl Ann Flynn Individually and as Special Representative of the Estate
of Edward Louis Flynn

3. Gayl is the Specia] Administrator of the Estate of Edward Louis Flynn,
Deceased, having been appointed as such by the Marion County, Indiana Superior
Court, Probate Division.

A. Gayl was the wife of Edward Louis Flynn (“Edward”).

5. Gayl is a resident of Indianapolis, Marion County, Indiana.

6. At the time of his death, Edward Louis Flynn was a resident of
Indianapolis, Marion County, Indiana.

B. Defendants City, Ofc. Butler, Ofc. Stringer, Ofc. Pervine, and Ofc. St.
John.

7. The City is a city incorporated under Indiana law and is located in
Marion County, Indiana.

8. The City operates and controls the Indianapolis Metropolitan Police
Department (“IMPD”) for the purpose of providing public safety and protection to the
citizens of Indianapolis and the Indianapolis Metropolitan Police Department.

9. Ofc. Butler was at all times relevant hereto a law enforcement officer,
as that term is defined in Ind. Code § 35-41-1-17, and an employee of the IMPD and
City who was performing his duties for an acting as an officer of the IMPD, and was

acting under color of state law.

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10. Ofc. Stringer was at all times relevant hereto a law enforcement officer,
as that term is defined in Ind. Code § 35-41-1-17, and an employee of the IMPD and
City who was performing his duties for an acting as an officer of the IMPD, and was
acting under color of state law.

11. Ofc. Pervine was at all times relevant hereto a law enforcement officer,
as that term is defined in Ind. Code § 35-41-1-17, and an employee of the IMPD and
City who was performing his duties for an acting as an officer of the IMPD, and was
acting under color of state law.

12. Ofc. St. John was at all times relevant hereto a law enforcement officer,
as that term is defined in Ind. Code § 35-41-1-17, and an employee of the IMPD and
City who was performing his duties for an acting as an officer of the IMPD, and was
acting under color of state law.

13. The acts and omissions giving rise to this action occurred in
Indianapolis, Marion County, Indiana.

Factual Allegations Relevant to All Counts
A. Edward Louis Flynn.

14. On December 15, 2020, Edward was the age of sixty-six (66).

15. Edward was born in Indianapolis on January 6, 1954.

16. Edward was a dedicated and beloved employee of the Indianapolis Star
News, and would have celebrated his fifty (50) year anniversary at the Indianapolis
Star News in September of 2021.

17. Edward was survived by his wife, Gayl, and his adult sons Christopher

and Dale.

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B. The Death of Edward Louis Flynn.

18. On December 15, 2020, Ofc. Butler and Ofc. Stringer were dispatched to
the AutoZone store located at 5050 W Washington St, Indianapolis, Indiana 46241 to
investigate a report of the presence of an alleged stolen vehicle, a Ford F-150, in its
parking lot, arriving at approximately 5:48 p.m.

19. Upon arrival, Ofe. Butler and Ofc. Stringer exited their vehicles with
weapons drawn and attempted to contact the individual in the vehicle.

20. After Ofc. Butler and Ofc. Stringer briefly approached the vehicle and
knocked on the windows of the unknown vehicle asking the driver to open the door
when the Ford F-150 reversed and drove away from the AutoZone.

21. The vehicle was occupied by and being operated by James Shirley, the
identity of whom was unknown by Defendants until after the collision.

22. Ofc. Stringer then initiated a high-speed chase with Ofc. Butler
following behind him also initiating a high-speed chase.

23. The chase began by leading east on Washington Street, then south on
Westbrook Avenue, east on Morris Street, and then south on Lynhurst Drive.

94. At that time, Ofc. Pervine joined, initiated, and continued in the high-
speed chase.

25. Ofc. St. John then joined, initiated, and continued the chase attempting
to deploy stop sticks at the intersection of Raymond Street and Lynhurst Drive then

pursuing the vehicles thereafter.

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96. The chase then led west on Bradbury Avenue, west on Sam Jones
Expressway, north on 1-465, east on Washington St. from 1-465, and finally east on
Morris St. when the Ford F-150 struck the vehicle being driven by Edward, that was
simply sitting at the intersection of Lynhurst Dr. and Morris St, causing Edward’s
vehicle to strike a pole and roll several times.

27. In total, the high-speed chase lasted more than five (5) minutes.

28. Edward was transported to Methodist Hospital by Way Township
Medics from the scene of the collision but was declared deceased at Methodist
Hospital due to injuries suffered from the collision.

29. The high-speed chase occurred on local roads well in excess of the speed
limits.

30. Upon initiating the high-speed chase, the Defendants had not confirmed
the vehicle was in fact a stolen vehicle and had not identified anything about the
driver.

31. The Defendants acted without due regard of the safety of other drivers
and pedestrians in the vicinity of the high-speed chase and in a high traffic area.

32. Ofc. Butler and Ofc. Stringer ignored steps that could have prevented
the high-speed chase, such as positioning their vehicles differently upon arrival at
the scene and calling for backup.

33. The Defendants continued the dangerous high-speed chase after
initiation and did not eall it off even though it threatened the lives of innocent.

bystanders.

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34. The high speeds posed an inherent risk to the public.

35. The collision and chase occurred in the evening with lower visibility due
lighting with it being nighttime.

36. There were heavy traffic conditions at the time of the chase and collision.

37. The only act witnessed by the Defendants was the act of fleeing alone.
C. General

38. The policies, procedures, and customs of the City led to, permitted, and
countenanced the chase, collision, and violations of Edward’s constitutional rights.

39. Additionally, the actions of the Defendants constitute deliberate
indifference and shock the conscious.

AO. ‘The failure of the City to follow and enforce some of its own internal
policies and procedures led to and caused the deadly high-speed chase, deprived
Edward of his constitutional and federal rights under 42 U.S.C. § 1983 and caused
Edward’s death.

41. The City’s General Order 4.12 and its authorized and maintained
policies, practices, and/or customs caused, allowed, and/or approved the
constitutional violations of the other Defendants.

42. The City has failed to institute, maintain and enforce proper procedures
for training and re-training its officers relative to high-speed chases; monitoring and
supervising its officers relative to high-speed chases; and disciplining its officers
relative to high-speed chases, all of which constitute a willful and deliberate

indifference to and a willful and deliberate disregard of the serious risk of significant

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harm to members of the public, shock the conscious, and demonstrate a reckless and
callous indifference to the Constitutional rights of members of the public, which led
to and caused the death of Edward.

43, The failure of the City to properly and adequately review, revise,
implement and enforce its policies, procedures and customs relative to investigating
and handling high-speed chases in which its officers are involved shock the conscious,
constitutes a willful and deliberate indifference to and a willful and deliberate
disregard of the serious risk of significant harm to members of the public, and led
directly to the continued dangerous high-speed chases and led to and caused the
death of Edward.

44, The failure of the City to properly and adequately review and revise its
policies, procedures and customs relative to investigating and otherwise handling
high-speed chases shock the conscious and constituted a willful and deliberate
indifference to and a willful and deliberate disregard of the serious risk of significant
harm to members of the public and demonstrate a reckless and callous indifference
to the Constitutional rights of members of the public, and led directly to the
unreasonable, unnecessary and deadly high-speed chase led to and caused the death
of Edward.

45. Defendants’ actions leading to and causing the collision shock the

conscience.

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46. Defendants intended to cause harm by among other things intentionally
engaging in a high-speed chase while also refusing to disengage the high-speed chase
prior to the collision.

47. Defendants violated Edward’s Fourteenth Amendment due process
rights.

48. Defendants had a duty to drive with due regard for the safety of all
persons, which Defendants did not.

49. Defendants failed to exercise reasonable care.

50. The City has a custom and practice of engaging in a significantly higher
number of pursuits than similarly sized departments from around the country.

51. By virtue of Indiana’s statutory caps and the post-deprivation
procedures in Indiana, Plaintiff has effectively been denied due process of law for an
adequate opportunity to seek compensation for the state-occasioned deprivation of
Edward's life.

52. The Defendants knew and/or should have known that a collision was
imminent, but consciously and culpably refused to prevent it.

58. Defendants had over five minutes to weigh the risks of pursuing the
fleeing vehicle.

54. Defendants initiated and continued this high-speed chase through
residential and retail business areas within the city limits of Indianapolis during time
periods when there were high volumes of vehicular traffic throughout the chase route.

Defendants and each of them were at all times fully aware that initiating and

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continuing a high-speed chase in the aforesaid areas at approximately 5:50 p.m. on a
weekday exposed innocent and unknowing drivers in these areas to an unreasonable
risk of harm.

55. Edward had absolutely no warning or notice that Defendants were
conducting a high-speed chase in the same area at the same time he was waiting at
an intersection, nor did Defendants attempt to provide warning or notice of same.

56. Defendants initiated and continued their high-speed pursuit of James
Shirley as James Shirley’s vehicle drove through a red light and struck and killed
Edward.

57. The manner in which Defendants initiated and continued their high-
speed pursuit of James Shirley, solely incidental to the fleeing of James Shirley
vehicle, through crowded city streets in both residential and commercial areas of
Indianapolis at approximately 5:50 p.m. shocks the conscience, is evidence of an utter
disregard for public safety, and demonstrates there was a purposeful effort to cause
harm to James Shirley.

58. The manner in which Defendants made the decision to initiate their
high-speed pursuit of an unknown individual, and the manner in which they made
the decision to continue the high-speed pursuit through crowded city streets in
residential and commercial areas of Indianapolis, demonstrates an express policy or
widespread practice of Defendants to initiate and/or continue high-speed pursuits in
nonemergency situations and shows bad faith and an intent to harm the public in

general and specifically the Plaintiffs.

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59. Edward Louis Flynn was killed as a direct and proximate result of
Defendants’ egregious conduct in conducting the high-speed pursuit of James Shirley
as aforesaid and, as a result, was deprived of his rights, privileges, and immunities
secured to him under the Fourteenth Amendment to the Constitution of the Unites
States of America as well as applicable federal law.

60. The Defendants had a duty and obligation to both initiate and continue
their high-speed pursuit of James Shirley, as aforesaid, so as not to deprive the public
generally and specifically Edward Louis Flynn of the rights, privileges, and
immunities secured to him under the Constitution of the United States of America
and pursuant to Federal law.

61. Asa direct and proximate cause of Defendants’ unconstitutional acts
and unlawful conduct as aforesaid, the Estate of Edward Louis Flynn sustained great
pecuniary loss in the form of burial expense, funeral expense, medical and hospital
expenses, future support, love, care, and affection, the costs of administering the
estate, and other damages.

Count I
(Civil Rights Violation under § 1983)

62. Plaintiff, Gayl Ann Flynn, Individually and as Special Administrator of
the Estate of Edward Louis Flynn, hereby incorporates by reference, re-states and re-
alleges the allegations contained in the prior paragraphs as though fully set out

herein.

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63. Plaintiff claims damages from the Defendants for the violations of her
and Edward Louis Flynns’ constitutional rights under 42 U.S.C. § 1983 and Edward’s
death, as set out in this Complaint.

Wherefore Plaintiff prays for awards against all Defendants of compensatory
and punitive damages, administrative costs and expenses, attorneys fees and costs,
and all other damages recoverable against the Defendants under 42 U.S.C. § 1983,

and all other just and proper relief in the premises.

Count IT
(Negligence)

64. Plaintiff, Gayl Ann Flynn, Individually and as Special Administrator of
the Estate of Edward Louis Flynn, hereby incorporates by reference, re-states and re-
alleges the allegations contained in the prior paragraphs as though fully set out
herein.

65. Defendants owed the duty to operate emergency vehicles with due care
and with due regard for the safety of all persons, and to protect the public among
other things.

66. Defendants breached their duties owed.

67. Asa direct and proximate result, Edward Louis Flynn was killed, and
Plaintiff and Edward Louis Flynn suffered damages, including but not limited to,
personal injuries, loss of support, love, and affection, imcurred medical and hospital
expenses, and endured physical pain, emotional suffering, and loss of enjoyment of

life.

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68. The City is lable under the theory of respondeat superior and was
independently negligent.

Wherefore Plaintiff prays the Court to enter judgment in her and the Estates
favor on Count II against all Defendants, award damages to which they are entitled,

and grant all further just and appropriate relief in the premises

Count IIT
(Negligence — Wrongful Death)

69. Plaintiff, Gayl Ann Flynn, Individually and as Special Administrator of
the Estate of Edward Louis Flynn, hereby incorporates by reference, re-states and re-
alleges the allegations contained in the prior paragraphs as though fully set out
herein.

70. Asa direct result of Defendants’ negligence, Edward was killed.

71. By reason of the death of Edward, which resulted from Defendants’
negligence, Plaintiff and Edward Louis Flynn suffered damages including, but not
limited to, loss of support, services, love and affection, medical, hospital, funeral and
burial expenses, and costs and expenses of administration of his estate, including
attorney fees.

72. By reason of the death of Edward Louis Flynn, Plaintiff has suffered
damages, including but not limited to, the loss of consortium, loss of services, support,
love and companionship of her husband.

73. The Estate of Edward Louis Flynn is entitled to recover attorney fees

and expenses associated with the administration of the Estate and costs of this action.

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74, The City is liable under the theory of respondeat superior and was
independently negligent.

Wherefore Plaintiff prays the Court to enter judgment in her and the Estates
favor on Count III against Defendants for the wrongful death of Edward Louis Flynn,
and for an amount sufficient to compensate for all damages, and grant all further just

and appropriate relief in the premises.

Count IV
(Negligence Per Se)

75. Plaintiff, Gayl Ann Flynn, Individually and as Special Administrator of
the Estate of Edward Louis Flynn, hereby incorporates by reference, re-states and re-
alleges the allegations contained in the prior paragraphs as though fully set out
herein.

76. Defendants’ actions and inactions set forth herein constitute negligence
per se from violations of Indiana Code § 9-21-1-8 among other things.

77. The injuries and damages complained of herein are direct and proximate
result of the negligence, carelessness, gross negligence, reckless indifference, and
outrageous conduct of Defendants.

78. The negligence, carelessness, gross negligence, reckless indifference,
and outrageous conduct of Defendants set forth herein increased the risk that Edward
would be killed.

79. Asa direct and proximate result, Edward Louis Flynn was killed, and
Plaintiff and Edward Louis Flynn suffered damages, including but not limited to,

personal injuries, loss of support, love and affection, incurred medical and hospital

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expenses, and endured physical pain, emotional suffermg, and loss of enjoyment of
life.

80. The City is liable under the theory of respondeat superior and was
independently negligent.

Wherefore Plaintiff prays the Court to enter judgment in her and the Estates
favor on Count II, award all damages to which they are entitled, and grant all further
just and appropriate relief in the premises.

Count V
(Negligence Per Se —- Wrongful Death)

81. Plaintiff, Gayl Ann Flynn, Individually and as Special Administrator of
the Estate of Edward Louis Flynn, hereby incorporates by reference, re-states and re-
alleges the allegations contained in the prior paragraphs as though fully set out
herein.

82. Defendants’ actions and inactions set forth herein constitute negligence
per se from violations of Indiana Code § 9-21-1-8 among other things.

83. The injuries and damages complained of herein are direct and proximate
result of the negligence, carelessness, gross negligence, reckless indifference, and
outrageous conduct of Defendants.

84. The negligence, carelessness, gross negligence, reckless indifference,
and outrageous conduct of Defendants set forth herein increased the risk that Edward
would be killed.

85. By reason of the death of Edward, which resulted from Defendants’

negligence, Plaintiff and Edward Louis Flynn suffered damages including, but not

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limited to, loss of support, services, love and affection, medical, hospital, funeral and
burial expenses, and costs and expenses of administration of his estate, including
attorney fees.

86. By reason of the death of Edward Louis Flynn, Plaintiff has suffered
damages, including but not limited to, the loss of consortium, loss of services, support,
love and companionship of her husband.

87. The Estate of Edward Louis Flynn is entitled to recover attorney fees
and expenses associated with the administration of the Estate and costs of this action.

88. The City is liable under the theory of respondeat superior and was
independently negligent.

Wherefore Plaintiff prays the Court to enter judgment in her and the Estates
favor on Count V against Defendants for the wrongful death of Edward Louis Flynn,
and for an amount sufficient to compensate for all damages and grant all further just

and appropriate relief in the premises.

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Respectfully Submitted,

WALDRON TATE BOWEN
FUNK SPANDAU LLC

/s/ Brandon EK. Tate

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Jury Demand

Pursuant to Rule 38 of the Indiana Rules of Trial Procedure, Plaintiff, by

counsel, respectfully demands a trial by jury on all accounts deemed so triable.

Respectfully submitted,

WALDRON TATE BOWEN
FUNK SPANDAU LLC

/s/ Brandon E. Tate

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